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 Fill in this information to identify your case:

  Debtor 1                   Duc                                       Tran
                             First Name            Middle Name         Last Name

  Debtor 2                   Lynn                                      Mai
  (Spouse, if filing)        First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:                        Eastern District of Louisiana

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                     Last 4 digits of account number
        Priority Creditor's Name
                                                                     When was the debt incurred?
        Number           Street                                      As of the date you file, the claim is: Check all that
                                                                     apply.
                                                                     ❑ Contingent
                                                                     ❑ Unliquidated
                                                                     ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                              Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                              ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                 ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                        government
        ❑ Check if this claim is for a community debt                ❑ Claims for death or person injury while you were
                                                                         intoxicated
        Is the claim subject to offset?                              ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 7
 Debtor 1    Case 18-13243
                   Duc     Doc 5 Filed 12/06/18  Entered 12/06/18 11:35:01 Main Document Page 2 of 7
                                              Tran
 Debtor 2              Lynn                                             Mai                                                Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Bay Medical Center                                                                                                                                            unknown
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        2903 Martin Luther King Jr Blvd
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Panama City, FL 32405                                                     ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ✔
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ✔
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Medical
        ❑ Yes
4.2     Campus Federal Credit Union                                                                                                                                   unknown
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        PO Box 98036
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Baton Rouge, LA 70898                                                     ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ✔
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ✔
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Overdraft
        ❑ Yes
4.3     Capital One NA                                                            Last 4 digits of account number 0127                                                $2,404.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          Various
        10700 Capital One Way                                                     As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Number           Street

                                                                                  ❑ Unliquidated
        Richmond, VA 23060
        City                              State     ZIP Code
                                                                                  ❑ Disputed
        Who incurred the debt? Check one.
        ❑ Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:

        ❑                                                                         ❑ Student loans
                                                                                  ❑ Obligations arising out of a separation agreement or
          Debtor 2 only
        ✔
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
        ❑ At least one of the debtors and another                                 ❑ Debts to pension or profit-sharing plans, and other
        ✔
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?
                                                                                  ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑
        ❑ Yes



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 Debtor 1              Duc                                          Tran
 Debtor 2              Lynn                                         Mai                                              Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.4     Capital One NA                                                      Last 4 digits of account number ious                                        unknown
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          3635
        10700 Capital One Way
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Richmond, VA 23060
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
       ✔
       ❑      Check if this claim is for a community debt
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Credit Card

       ❑      Yes
4.5     Chase Bank USA                                                      Last 4 digits of account number 3219                                        $4,336.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          Various
        PO Box 15298
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19850
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
       ✔
       ❑      Check if this claim is for a community debt
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.6     Cox Communications                                                                                                                              unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          Various
        PO Box 9001079
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Louisville, KY 40290                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ✔
       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Services
       ❑      Yes




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 Debtor 1              Duc                                          Tran
 Debtor 2              Lynn                                         Mai                                              Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.7     Dept of Ed/Navient                                                  Last 4 digits of account number 0643                                       $30,300.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          Various
        123 Justison St 3rd Floor
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19801
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ✔
                                                                            ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
       ✔
       ❑      Check if this claim is for a community debt
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.8     DSNB/Macys                                                          Last 4 digits of account number 1109                                        $1,085.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          Various
        PO Box 8218
                                                                            As of the date you file, the claim is: Check all that apply.
       Number           Street
        Mason, OH 45050
                                                                            ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
                                                                                divorce that you did not report as priority claims
       ❑
                                                                            ❑
              At least one of the debtors and another
       ✔
       ❑      Check if this claim is for a community debt
                                                                                Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.9     East Jefferson Gen Hosp                                                                                                                         unknown
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 919126
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Dallas, TX 75391                                                    ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes




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 Debtor 2              Lynn                                         Mai                                              Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.10    La Maison de la Bonne Vie HOA                                                                                                                       $500.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        3725 Ridgelake Drive
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Metairie, LA 70002                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                HOA Dues
       ❑      Yes
4.11    Medicredit                                                                                                                                          $500.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 1629
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Maryland Heights, MO 63043                                          ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes
4.12    Southern Credit Recovery                                                                                                                            $350.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        3228 6th St #201
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Metairie, LA 70002                                                  ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ✔
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims
       ✔
       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes




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 Debtor 2              Lynn                                         Mai                                              Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.13    SYNCB/Care Credit                                                                                                                               $2,033.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?          Various
        PO Box 965036
                                                                            As of the date you file, the claim is: Check all that apply.

       Number           Street
                                                                            ❑   Contingent

        Orlando, FL 32896
                                                                            ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                 ❑   Student loans

       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ✔
       ❑
                                                                                divorce that you did not report as priority claims
                                                                            ❑
              Debtor 1 and Debtor 2 only
                                                                                Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                           similar debts
       ✔
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?
       ✔
       ❑      No
       ❑      Yes
4.14    SYNCB/Care Credit                                                                                                                                   $400.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        PO Box 965036
                                                                            As of the date you file, the claim is: Check all that apply.

       Number           Street                                              ❑   Contingent

        Orlando, FL 32896                                                   ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ✔
       ❑      Debtor 1 and Debtor 2 only
                                                                                divorce that you did not report as priority claims
                                                                            ❑
       ❑
                                                                                Debts to pension or profit-sharing plans, and other
              At least one of the debtors and another                           similar debts
       ✔
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          Credit Card
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1              Duc                                         Tran
 Debtor 2              Lynn                                        Mai                                         Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                          $30,300.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $11,608.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $41,908.00




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